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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA

------------------------------------X                                      Civil Action No.: 2:20-cv-
EUGENIA II INVESTMENT HOLDINGS :                                           00843
                                                                       :
LIMITED (BVI),                                                         :
                                                                       :
                                        Plaintiff,                     :
                                                                       :
                         v.                                            :
                                                                       :
ANTHONY BELISLE,                                                       :
                                                                       :
                                        Defendant.                     :
                                                                       :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X

    PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS

         Plaintiff Eugenia II Investment Holdings Limited (BVI) ("Eugenia") submits

this Opposition to Defendant's Motion to Dismiss the Complaint.

         In his bid to cut off Eugenia’s lawsuit for fraud and negligent

misrepresentation pre-answer, pre-discovery, and pre-trial, Belisle cherry picks the

Complaint’s allegations and ignores controlling Florida and Eleventh Circuit Court

of Appeals precedent, all to avoid accountability for his false statements and

omissions to Eugenia in the Fall and Winter, 2017.

         Belisle contends that the action must be dismissed because Eugenia did not

specify governing law.                 We deal swiftly with that.              Next, he argues that the

statements cannot possibly be actionable, because “courts refuse to entertain fraud

claims premised upon opinions” (Defendant’s Memorandum in Support (“Def.


{S2732178; 7}                                                 1
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Mem.”) at 17), and his and his team’s statements were just “estimates.” This too is

plainly wrong.      Fraud cases based on falsely expressed “opinion” are legion,

particularly where the defendant has special access to information and expertise.

         Next, Belisle contends that the generalized warnings in the Offering

Memorandum of November 2015 "specifically contradict" the statements made

almost two years later by Belisle, and thus Eugenia could not justifiably rely on those

statements (Def. Mem. at 13, n.8). But an investment manager cannot disavow false

reports about investment performance based on generalized pre-investment

disclosures.

         Belisle also contends (faintly) that he cannot be held liable for the statements

of his subordinates. Finally, he argues briefly and without conviction against the

negligence-based Count Two.

                     STANDARDS ON A MOTION TO DISMISS

         Rule 8(a)(2) of the Federal Rules of Civil Procedure (“FRCP”) requires "a

short and plain statement of the claim showing that the pleader is entitled to relief."

This "does not require 'detailed factual allegations,' but it demands more than an

unadorned, the-defendant-unlawfully-harmed-me accusation." Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)).

On a motion to dismiss, a court must "accept[] the allegations in the complaint as

true and constru[e] them in the light most favorable to the plaintiff." Belanger v.

Salvation Army, 556 F.3d 1153, 1155 (11th Cir. 2009). "A complaint must state a

facially plausible claim for relief, and '[a] claim has facial plausibility when the

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plaintiff pleads factual content that allows the court to draw the reasonable inference

that the defendant is liable for the misconduct alleged.'" Wooten v. Quicken Loans, Inc.,

626 F.3d 1187, 1196 (11th Cir. 2010) (quoting Iqbal, 556 U.S. at 678). Dismissal is

not appropriate “unless it appears beyond doubt that the plaintiff can prove no set of

facts in support of his claim which would entitle him to relief.” Crossroads Fin. LLC v.

Alma-Mater Collection, Inc., 2020 U.S. Dist. LEXIS 192471, at *12 (S.D. Fla. Oct. 15,

2020) (quoting Magluta v. Samples, 375 F.3d 1269, 1273 (11th Cir. 2004)).

                           CHOICE OF FLORIDA LAW

         Belisle says the Court must dismiss the Complaint because Eugenia did not

specify the governing law. (Def. Mem. at 8-9). But no specification is required.

Jewelry Repair Enters. v Son Le Enters., 2016 U.S. Dist. LEXIS 190810, at *9 (S.D. Fla.

Mar. 31, 2016). A District Court exercising diversity jurisdiction must “apply the

substantive law of the state in which it is located,” including that “state’s law

regarding choice of laws.” Shapiro v. Associated Int’l Ins. Co., 899 F.2d 1116, 1118

(11th Cir. 1990). That means Florida law. See Cavic v. Grand Bahama Dev. Co., 701

F.2d 879, 882-83 (11th Cir. 1983) (applying presumption that foreign law is same as

forum). Belisle intimates that Bermuda or the BVI’s law might apply (Def. Mem. at

8, n.4), without saying either should apply, discussing substance, or identifying any

conflict. Indeed, he cites Florida law alone for his motion; and Eugenia responds in

kind. Absent a proffer by a litigant of the substance of another state’s law and the




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existence of a conflict, this Court may presume that Florida’s law is the same as these

other jurisdictions’ law and apply it. Barnes v. Liebig, 1 So. 2d 247, 252 (Fla. 1941). 1

                THE REQUIRED ELEMENTS FOR PLEADING FRAUD

         There are four elements of fraudulent misrepresentation under Florida law:

         (1) a false statement concerning a material fact; (2) the representor's
         knowledge that the representation is false; (3) an intention that the
         representation induces another to act on it; and (4) consequent injury by the
         party acting in reliance on the representation.

Grimes v. Lottes, 241 So. 3d 892, 896 (Fla. Dist. Ct. App. 2018) (emphasis in original)

(internal quotation omitted).            A plaintiff must “state with particularity the

circumstances constituting fraud”, FRCP 9(b).                 Rule 9(b), however, does “not

abrogate the concept of notice pleading,” and is satisfied if the complaint sets forth:

         (1) precisely what statements were made in what documents or oral
         representations or what omissions were made, and (2) the time and place of
         each such statement and the person responsible for making (or, in the case of
         omissions, not making) same, and (3) the content of such statements and the
         manner in which they misled the plaintiff, and (4) what the defendants
         obtained as a consequence of the fraud.

Ziemba v. Cascade Int'l, Inc., 256 F.3d 1194, 1202 (11th Cir. 2001) (internal quotation

omitted). These elements are all pled in the Complaint.

                           THE FACTS AS ACTUALLY PLED

         During the relevant years, Belisle was the CEO of Markel Catco (“Catco”), in

charge of the Limited Diversified Arbitrage Fund (“LDAF”), a Catco fund that


1
 Belisle cites Knights Armament Co. v. Optical Sys. Tech, 568 F. Supp. 2d 1369, 1377 (M.D. Fla. 2008),
and Dell Inc. v. Sharp Corp. (In Re TFT-LCD (Flat Panel) Antitrust Litig.), 781 F. Supp. 2d 955, 966
(N.D. Cal. 2011). Neither considers the presumption of Florida law. And see Kls Martin, Inc. v. Med.
Modeling, Inc., 2018 U.S. Dist. LEXIS 225524, at *10-11 (M.D. Fla. Dec. 14, 2018) (rejecting
argument that failure to plead state law required dismissal and distinguishing Knights Armament and
TFT-LCD).
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solicited investment. (Cmpl. ¶¶ 1, 16). Catco was a “reinsurer”, an arcane business

in which property and casualty insurance and reinsurance companies paid premiums

to “lay off” risk onto Catco (Cmpl. ¶ 2, 13). In 2015, Belisle boasted he had over 30

years of reinsurance experience and had pioneered “unique structures” in the

industry. (Doc. 16-6, Offering Memorandum, p. 31).

         Eugenia is an investment fund. In late 2015 and early 2016, Belisle induced

Eugenia’s LDAF investment of $20,000,000 (“Investment One”) with misleading

marketing materials (Cmpl. ¶ 36). Those materials are relevant, but their falsity is

not at the heart of the Complaint. Eugenia had no staff with any training or

experience in the specialized world of reinsurance-related investments. (Cmpl. ¶ 16).

It relied justifiably on the expertise, good faith, and integrity of Belisle and his

subordinates.

         In the Fall 2017, Belisle was on a major “capital raise” for Catco. He had an

enormous personal financial interest (described below) in the capital raise. But the

timing was disastrous. Three hurricanes in the Caribbean and the Atlantic—Harvey,

Irma, and Maria—made landfall, imposing massive insurance losses. (Cmpl. ¶ 41)

         Harvey struck Texas and Louisiana on August 26 and 27. With Katrina, it is

one of the two costliest hurricanes on record. (Cmpl. ¶ 42)

         Irma formed in late August, hitting Barbuda and Florida on September 6 and

September 10.      About 6.5 million Floridians evacuated their homes, the largest

evacuation in the state’s history. Irma was the third strongest Atlantic hurricane ever

recorded. It caused about $50 billion in damage. (Cmpl. ¶ 43).
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         Maria formed around September 10, striking Puerto Rico on September 20

with 155 mph winds, causing an estimated 2,975 deaths there. By September 26,

95% of the island had no power; less than half the population had tap water. The

National Hurricane Center estimated damage at $90 billion. It was the worst natural

disaster in Puerto Rico’s history. (Cmpl. ¶ 44).

         The 2017 Atlantic hurricane season was the costliest cyclone and hurricane

season on record, with damage of about $300 billion in the United States. (Cmpl. ¶

45). This confronted Belisle with an enormous challenge in luring new money into

his funds. (Cmpl. ¶ 46) And — unbeknownst to Eugenia — Belisle individually had

a prince’s ransom at stake.      As Eugenia now knows, Belisle was striving for

enormous bonuses in January 2019. One was the Performance Element ("PE")

bonus, driven in part by assets under management in 2018. Belisle juiced these assets

up in his capital raise with false statements and omissions about the impact of the

2017 storms. (Cmpl. ¶ 71) Thus, Belisle was slated to receive a PE bonus of

$77,500,000 in January 2019. He had allocated amounts to Alissa Fredricks (his

number two in command) and others, leaving him an expected PE bonus of

$53,450,000. (Cmpl. ¶ 71). Belisle had also been promised a “Continued Service

Element” bonus of $12,500,000. So Belisle anticipated receiving $65,950,000 in

January 2019 (Cmpl. ¶¶ 72, 73), driven significantly by the 2017 capital raise. Had

Belisle not given investors falsely optimistic reports of the funds’ ability to withstand

the catastrophic 2017 storms, he would not have been able to raise nearly as much



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capital generally, and certainly would not have had Plaintiff’s investments for 2018.

(Cmpl. ¶ 74) 2

          In the Fall and Winter, 2017, Eugenia faced two investment decisions.                     Its

2016 $20 million LDAF investment (Investment One) could be redeemed, or instead,

“rolled over” into 2018. Also, Eugenia was considering a further LDAF investment

of $10 million (Investment Two). (Cmpl. ¶ 83) But Eugenia expressed grave concern

over the impact of the enormous hurricanes on the 2017 LDAF earnings.

          The Complaint details the false statements and omissions of Belisle and his

team to lure Eugenia into these two investments. From late August through late

October 2017, Belisle, the industry insider and expert, led a drumbeat of willfully

misleading statements about what the 2017 results would show a few months hence

(in January 2018). And he chose not to correct them in November and December.

          1. The August 29, 2017 Catco press release (Doc. 16-1). The release states that

Harvey is “one of the worst storms in US history.” But then it states that “early

estimates provided by the catastrophe risk modeling firms suggest insured wind

losses of low single digit billions (USD).” And it immediately reassures that, “if the

total wind and floor insured losses remain below $10 billion the impact on the

investment portfolio is not expected to be significant.”                  Eugenia alleges, “Belisle’s

estimates were, as he surely knew, sharply at variance with forecasts by highly

reputable experts and the data being disseminated in the insurance industry at the



2
    Belisle is silent in his Memorandum on the capital raise, and his huge financial stake in it.

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time.” (Cmpl. ¶ 51). Eugenia will prove that the “opinion” was false: it was not

honestly rendered and was inconsistent with facts available to Belisle and his team. 3

         2. The August 29 email (Doc. 16-2). On August 29, 2017, a Belisle

subordinate wrote to Christoffer Fellanius (who was advising Eugenia), and to

Belisle himself, with a copy to Mark Way, Catco’s Director of Operations, that the

LDAF was “hedge[d] to not worse than -10%”; and that, even in light of a $240

billion Gulf WS (windstorm) industry loss, the gross return on investment for the

LDAF would still be -6%.

         Belisle ignores the grossly misleading -6% figure. He says it was not his

statement, but avoids naming the author, Ms. Fredricks (Def. Mem. at 17). (His

relationship with Ms. Fredricks, his “number two” (Cmpl. ¶ 70), figures prominently

in the Catco story, sees infra).              Fredricks indicates that the chart contains

“approximate gross return distributions.” Belisle says the word “approximate” makes

this a “nonactionable statement of opinion.” (Def. Mem. at 18). But “approximate”

qualifies precision (meaning “nearly correct or exact: close in value or amount but

not precise”); 4 it does not immunize information not honestly rendered or

contradicted by other, undisclosed, information in the speaker’s possession.



3
  Belisle says he should not be held accountable for the press release; see infra for discussion of
Belisle’s responsibility for his small team’s statements. Belisle also says that Eugenia “does not
allege that it acted in reliance on this preliminary prediction.” (Def. Mem. at 15) Actually, Eugenia
alleged that it relied on all of the cited statements and omissions by Belisle and his team in the Fall
and Winter, 2017 (Cmpl. ¶¶ 16, 83).
4
 Wells Fargo Bank, N.A. v. Young, 2019 N.J. Super. Unpub. LEXIS 849, at *4-5 (Super. Ct. App. Div.
Apr. 11, 2019) (quoting Merriam-Webster Online Dictionary)

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         3. Belisle’s September 15 update (Doc. 16-3). Belisle, the insider expert, with

30 years’ experience and access to proprietary models and data, emails David

Hurdle, Eugenia’s principal investment analyst, providing “my best estimate”:

         I find it doubtful that the loss to FL will be more than $10-15 b. If so, then we
         may still have positive earnings for 2017 (assuming no other loss events for
         the last 3 plus months [see table below for each fund].

         As to the numbers in the attached table, Belisle is now silent. The Complaint,

however, alleges that the table’s forecasts were “sharply at variance with forecasts by

highly reputable experts and the data being disseminated in the insurance industry at

the time.” Cmpl. ¶ 51. Moreover, while Belisle was reassuring investors with this

data, he knew that the worst-case scenario, which had been downplayed previously

as a “1 in 2,500 year” occurrence, was now a distinct and devastating possibility. He

failed to mention that in his investor communication. (Cmpl. ¶ 51).

         4. The October 2 Announcement (Doc. 16-4). The bulletins from Catco got

even rosier. Catco issued a remarkable statement that day, “currently estimat[ing] an

NAV return for 2017 of between positive five percent to negative 15 percent.”

         5. The October 27 Statement (Cmpl. ¶ 57).           Mark Way, Catco’s Operations

Chief, emailed Hurdle a table showing “projected net return at December 31, 2017”

(i.e., just two months hence) of minus 8 percent for the LDAF. But Belisle says, “All

allegations of later statements [after October 26] are irrelevant because they post-date

Eugenia’s decision to reinvest on October 26.” (Def. Mem. at 20). Belisle is wrong.

         First, the subscription documents (Doc. 16-9) have an “effective date” and

“dealing date” of January 1, 2018. So, Way’s October 27 email was still vitally

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 significant to Eugenia. Second, Belisle ignores Investment One, the $20 million that

 could be redeemed or rolled over into 2018. Even if October 26 was a final date for

 Eugenia’s Investment Two decision (it was not), that is irrelevant to Investment One.

 And third, the October 27 email is obviously of great significance as further evidence

 of a pattern of misrepresentation and deceit.

          These rosy assertions by Belisle and his team had their intended effect.

 Eugenia was greatly reassured. LDAF’s steadfast performance in the teeth of these

 historic storms was proof that its risk management structures worked. (Cmpl. ¶ 4).

 Eugenia decided to roll over Investment One ($20 million) and add another $10

 million (Investment Two) for 2018. (Cmpl. ¶¶ 58, 59).

          Once Belisle had finished his enormous 2017 capital raise, and Eugenia had

 committed to its investments, the harsh truth began to emerge. That minus 8%

 projection of October 27, 2017 was quickly ancient history. Even though industry

 loss estimates for 2017 remained roughly in line with prior estimates, the reported

 losses on the LDAF returns deteriorated dramatically. (Cmpl. ¶ 62). On January 18,

 2018, Catco was suddenly projecting a 2017 LDAF loss of -28.9%: over three times the

 loss projected on October 27, 5 when Eugenia was still “in play” as a 2018 investor. (Id.) 6

 5
   In a vain attempt to “draw the poison”, Belisle says that the January 2018 report (Doc. 16-5)
 showed that “the additional loss reserves reported in the January 18, 2018 report were primarily to
 account for the California wildfires, which took place from October through the end of 2017.” Def.
 Mem. at 24. This is obviously a fact issue way beyond the pleadings; but irrelevant as well (the
 exhibit states clearly that, as to the December wildfires, “far less insured exposure was impacted
 compared to the October wildfires….”) (Doc. 16-5 at 3).
 6
   And note: through November and December, while Eugenia could still have changed its
 investment decisions, not a word issued from Belisle to correct his August to October false
 statements.

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 More terrible news followed: in May 2018, the loss reserve for 2017 funds increased

 by a further 14%, with a 2017 return now set at -42.12% for LDAF investors.

           Eugenia had had enough.             It notified Catco in September 2018 that its

 accounts were to be redeemed. (Cmpl. ¶ 66) But Eugenia’s withdrawal could not

 avoid huge losses for 2018, triggered by 2018 hurricanes and wildfires, and incurred

 because of the flawed risk management systems of Catco’s scheme. (Cmpl. ¶ 67).

 On November 30, 2018, it emerged that U.S. (SEC) and Bermuda government

 investigators had taken notice of Catco and Belisle (Cmpl. ¶ 68), and had opened

 investigations into Catco “loss reserves” for 2017 that are ongoing. (Cmpl. ¶ 68).

 On January 18, 2019, Belisle and Fredricks were fired for allegedly concealing their

 romantic relationship and lying about it to investigating counsel and to senior

 executives of the parent company. (Cmpl. ¶ 70).

                                     FACT VERSUS OPINION

           Fraud requires a “false statement of fact”; but the opinion of someone “with

 superior knowledge on the subject of the statement” is “treated as a fact.” Grimes,

 241 So.3d at 896-97. And every opinion “explicitly affirms one fact: that the speaker

 actually holds the stated belief.” Omnicare, Inc. v. Laborers Dist. Council Constr. Indus.

 Pension Fund, 575 U.S. 175, 184 (2015). 7 Whether a representation is “a fact or an

 opinion requires consideration of the surrounding circumstances,” Grimes, 241 So.3d

 at 896, and thus is typically not capable of resolution on the pleadings, see Tres-AAA-

 Exxon v. City First Mortg., Inc., 870 So. 2d 905, 907-08 (Fla. Dist. Ct. App. 2004).
 7
     Belisle cites Omnicare, Def. Mem. at 19, but ignores the relevant holding, quoted above.

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          Belisle argues that the misstatements alleged in the Complaint are opinions

 and, thus, cannot be the basis for a misrepresentation claim. But this argument is not

 available to him because of his superior knowledge and access to information that

 was not generally available to Eugenia. It is certainly not an argument that can

 prevail on a motion to dismiss.

          Fresh Results, LLC v. ASF Holland, B.V., 2020 U.S. Dist. LEXIS 2662 (S.D. Fla.

 Jan. 8, 2020), is illustrative. Plaintiff was a produce buyer; defendant agreed to resell

 for plaintiff in Europe on consignment. Plaintiff alleged that defendant induced it to

 contract by stating prices anticipated on the resale that it knew were inflated. Id. at

 *5. Moving to dismiss, defendant argued that the anticipated prices were “simply

 opinions or projections of future sales” that could not “constitute misrepresentations

 of material fact.” Id. at *7. The District Court denied the motion, noting defendant’s

 “superior knowledge”; defendant “knew the provided reference prices were inflated

 based upon its knowledge regarding the market for berries in Europe and its

 communications with customers regarding what prices they were willing to pay, and

 how much volume they wanted.” Id. at *10. That is indistinguishable from the

 allegations about Belisle’s superior industry knowledge, and his access to

 information contradicting his statements about the 2017 results.




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          Nor can the complexity of the subject matter be disputed. Reinsurance has its
                                                                                   8
 own vocabulary (“cedents”, “retrocession”) and unique structures.                     Eugenia was

 untutored in it. (Cmpl. ¶ 16). Belisle had 30 years and a supposedly expert staff, with

 information (claims, damage models, LDAF assets, “hedging strategies”) that

 Eugenia could not possibly access.

          The “superior knowledge” cases are a rich vein in Florida and the 11th

 Circuit. See e.g. Thor-Bear, Inc. v. Crocker Mizner, 648 So. 2d 168 (Fla. Dist. Ct. App.

 1994) (representation treated as fact if coming from one with superior knowledge);

 ASJ Drugs Inc. v. Berkowitz, 459 So. 2d 348, 350 (Fla. Dist. Ct. App. 1984) (dismissal

 reversed; “opinion” sufficient when combined with superior knowledge); Mejia v.

 Jurich, 781 So. 2d 1175, 1177 (Fla. Dist. Ct. App. 2001) (professional’s promise

 about future events when she knew they were false is sufficient).

          Belisle also claims that the statements are not actionable because they contain

 estimates. This too fails. In Harrison v. Westinghouse Savannah River Co., 176 F.3d 776,

 792 (4th Cir. 1999), defendant Westinghouse made “estimates” in payment claims

 that, it said, could not be fraudulent as mere estimates. The court said an estimate

 “carries with it an implied assertion, not only that the speaker knows no facts which




 8
  The Eleventh Circuit has recognized the complexity. See Am. Bankers Ins. Co. v. Nw. Nat'l Ins. Co.,
 198 F.3d 1332, 1335 (11th Cir. 1999) (reinsurance contracts are sophisticated documents); Public Risk
 Mgmt. of Fla. v. Munich Reinsurance Am., 2021 U.S. Dist. LEXIS 12364, at *29 (M.D. Fla.) (same).
 See also Selcke v. New England Ins. Co., 995 F.2d 688, 689 (7th Cir. 1993) (reinsurance
 “arcane practices and usages”); Ind. Lumbermens Mut. Ins. Co. v. Reinsurance Results, Inc., 513 F.3d
 652, 653-654 (“dauntingly complex, esoteric field”).


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 would preclude such an opinion, but that he does know facts which justify it.” Id. at 792.

 (citing PROSSER & KEETON ON THE LAW OF TORTS § 109 (5th ed. 1984). 9

          Belisle admits that “hypothetically” it would be “possible for a plaintiff to

 allege that a defendant provided one estimate when he actually believed a different

 estimate to be correct.” (Def. Mem. at 19, n.10). But, he summarily adds, “that

 requires supporting allegations, of which there are none in the Complaint.” (Id.)

          In fact, there is a plethora of supporting allegations. Cmpl. ¶ 51: Belisle’s

 “estimates” were “sharply at variance with forecasts by highly reputable experts”;

 Belisle had access to information from established industry sources that the impact of

 the hurricanes was likely to be materially above the $10 billion indemnity triggers on

 two if not three of the pillars; a “devastating impact” on LDAF investors was a

 distinct possibility). ¶ 54: the October 2nd forecast was willfully misleading, given

 the information being disseminated to reinsurance industry insiders.                        ¶ 57: the

 October 27 projection was indefensibly optimistic given information then available.

 ¶ 68: SEC and Bermuda governmental authorities launched investigation of Catco’s

 2017 loss reserves. ¶ 71: Belisle’s enormous bonuses were tied to the capital raise of

 2017, which required the false statements and omissions.                  ¶ 7: Markel fired Belisle

 and Fredricks for lying to company executives and counsel.

          The cases Belisle relies on are easily distinguished. Douse v. Bos. Sci. Corp.,

 2018 U.S. Dist. LEXIS 122386 (M.D. Fla. July 23, 2018) (Def. Mem. at 22-23),

 9
  See also United States v. United Techs. Corp., 255 F. Supp. 2d 779, 782-83 (S.D. Ohio 2003) (rejecting
 arguments that estimates are inherently subjective, vague and uncertain).

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 which Belisle says is “indistinguishable,” is a medical product liability case. The

 alleged misstatements were vapid puffery on the manufacturer’s website: “trusted

 performance,” “timeless design” Id. at *7-8. The allegations here are not website

 puffery (“trust us”), but false statements about Eugenia’s existing 2017 investments,

 ostensibly based on facts and rendered honestly, by the CEO, directed to Plaintiff,

 about on-going cataclysmic events, while inducing millions in 2018 investment. 10

          Here, the allegations present a powerful case that Belisle was not telling the

 truth (Belisle’s acute personal motive and opportunity to lie; his special access to

 information; the timing of the capital raise, and then, the sudden January 2018

 release of the terrible investment news) (Cmpl. ¶¶ 62, 70-73).

          Finally, Belisle’s argument that the August 29 email is not actionable because

 the information is introduced by the word “approximate” is not supported by the

 cases he cites – Mich. Carpenters' Pension Fund v. Rayonier Advanced Materials, Inc., 2019


 10
   Defendant offers a scattershot of inapposite cases that can be handled briefly. See Kramer v Unitas,
 831 F. 2d 994 (11th Cir. 1987) (summary judgment; empty “puffing” was not a representation, false
 or otherwise); Silver v. Countrywide Home Loans, Inc., 760 F. Supp. 2d 1330 (S.D. Fla. 2011) (summary
 judgment; mere puffing); Wasser v. Sasoni, 652 So. 2d 411 (Fla. Dist. Ct. App. 1995) (summary
 judgment; puffing as to “very good building”; caveat emptor for building purchase); Extreme Crafts VII,
 LLC v. Cessna Aircraft Co., 2011 U.S. Dist. LEXIS 163003 (S.D. Fla. Oct. 3, 2011) (summary
 judgment; Kansas law; no superior knowledge); Century 21 Real Estate Corp. v. Remax S. Cnty, 882 F.
 Supp. 915 (C.D. Cal. 1994) (summary judgment; Lanham Act; magazine advertisement); In re
 Triangle Capital Corp. Sec. Litig., 2019 U.S. Dist. LEXIS 36639 (E.D.N.C. Mar. 7, 2019) (securities
 case under Private Securities Litigation Reform Act of 1995; distinct standards); Duty Free Americas v.
 Estee Lauder Cos., 2014 U.S. Dist. LEXIS 43673 (S.D. Fla. Mar. 31, 2014) (Lanham Act claim of
 false advertising; plaintiff had had “extensive discovery”); Fung-Schwartz v. Cerner Corp., 2019 U.S.
 Dist. LEXIS 156920 (S.D.N.Y. Sept. 13, 2019) (implied representation; unparticularized; failure even
 to allege falsity); Azar v. Am. Home Mortg. Servicing, 2010 U.S. Dist. LEXIS 140994 (M.D. Fla. July
 16, 2010) (mere fact of loan approval is not a “false statement of fact”; and, no superior knowledge);
 Brake v. Wells Fargo Fin. Sys. Fla., 2011 U.S. Dist. LEXIS 146875 (M.D. Fla. Dec. 5, 2011) (plaintiffs
 conceded statements were non-actionable).


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 U.S. Dist. LEXIS 53577, *85-86 (M.D. Fla. Mar. 29, 2019), and Phoenix Trading, Inc.

 v. Lopez LLC, 732 F.3d 936, 945 (9th Cir. 2013). (Def. Mem. at 18). Mich. Carpenters,

 was a federal securities fraud claim governed by the PSLRA. The “projections” there

 were “unequivocally forward-looking,” which the court found to be within a “safe

 harbor” under the securities law. Phoenix Trading was a defamation suit, not a fraud

 claim.

      BELISLE IS RESPONSIBLE FOR THE STATEMENTS AND OMISSIONS

          Belisle says the Court must ignore any statements that he did not personally

 write (Def. Mem. at 9 n.6; 16). This is wrong.
                                                                                               11
          First, the argument is premature; Belisle cites post-trial decisions.                     (Def.

 Mem. at 16-17). The allegations about his role more than suffice at this stage.

          Second, fraud liability extends to persons who directed, authorized or

 participated in a statement’s dissemination. Taylor Newman Cabinetry, Inc. v. Classic

 Soft Trim, Inc., 436 F. App'x 888, 890-91 (11th Cir. 2011) (internal quotation omitted)

 (under Florida law, officers or agents of corporations may be liable if they commit or

 participate in a tort); see also Segal v. Rhumbline Int'l, 688 So. 2d 397, 399 (Fla. Dist.

 Ct. App. 1997) (officer could be liable for orchestrating fraud though others made the

 representations). Catco was not Walmart or Exxon. The statements were issued by

 Belisle or his senior executives.




 11
   Checkers Drive-In Rests., Inc. v. Tampa Checkmate Food Servs., 805 So. 2d 941, 944 (Fla. Dist. Ct. App.
 2001) and Cameron v. Outdoor Resorts of Am., Inc., 611 F.2d 105, 107 (5th Cir. 1980).

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          Third, as to press releases, like the one on August 29, 2017, group pleading

 satisfies Rule 9(b). See Phillips v. Sci-Atlanta, Inc., 374 F.3d 1015, 1019 (11th Cir.

 2004). Belisle was CEO and controlled the LDAF (Cmpl. ¶ 1); these allegations

 suffice to attribute to him the statements in the press release (see e.g. Cmpl. ¶ 12).

          Fourth, a single material misstatement suffices.               See e.g. In re Health Ins.

 Innovations Sec. Litig., 2019 U.S. Dist. LEXIS 141591, at *94 (M.D. Fla. June 28,

 2019) (sustaining 10b-5 claim based on one misrepresentation); cf. SEC v. Morgan

 Keegan & Co., 678 F.3d 1233, 1248 (11th Cir. 2012) (“The SEC … may seek a civil

 penalty against any defendant who has made a single misstatement or omission”).

 Here, one of the false statements was written by Belisle himself (and he was copied

 on others). (Cmpl. ¶ 49; Doc. 16-2).

          Fifth, Belisle is liable for fraudulent omissions too. Ward v. Atl. Sec. Bank, 777

 So. 2d 1144, 1146 (Fla. Dist. Ct. App. 2001) (denying summary judgment; defendant

 “concealed negative information”). Belisle had a duty in November and December

 to disclose accurate information to correct the prior misstatements falsely portraying the

 LDAF 2017 performance. See e.g. FindWhat Inv'r Grp. v. FindWhat.com, 658 F.3d

 1282, 1298-99 (11th Cir. 2011) (defendants' statements touting a system triggered a

 duty to disclose its defects). Belisle “had information available to him that alerted

 him … to the falsity of the statements about the likely impact of the 2017 hurricanes”

 (Cmpl. ¶ 79), but failed “to correct prior misstatements” (Cmpl. ¶ 81). 12


 12
   Similar principles apply to negligent misrepresentation. As explained by the Florida Supreme
 Court, "the party who negligently transmitted the false information may be held liable if the recipient
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            THE "DISCLAIMERS" DO NOT DEFEAT EUGENIA'S CLAIM

          Belisle says "allegations of fraud that are 'expressly contradicted' by a signed

 writing...do not state a claim for fraud and should be dismissed." (Def. Mem. at 9). .

           Not so.     First, the disclaimers do not “expressly contradict” the false

 statements. The 2015 Offering Memorandum (Doc. 16-6) said the expected: the

 investments were “speculative” and involved “significant risk”; “natural disasters

 may significantly affect [funds’] results”(Id. at 3); predictions were “subjective

 judgments”; etc.        These disclaimers hardly licensed Belisle and his team to

 subsequently misrepresent actual data about the hurricanes and Eugenia’s 2017

 investments, when Eugenia was deciding on its 2018 investments. If Belisle had

 issued false 2017 LDAF account statements, would the disclaimers protect him?

          Second, the Florida and Eleventh Circuit courts have warned that allegations

 of misstatements and reliance should almost never be dismissed without a full

 evidentiary record. See Chiron Recovery Ctr., Ltd. Liab. Co. v. AmeriHealth HMO of N.J.,

 Inc., 2017 U.S. Dist. LEXIS 163487, at *9 (S.D. Fla. Oct. 3, 2017) (reasonableness of

 reliance is often a fact question not appropriate for motion to dismiss); Tannenbaum

 v. Jefferies, 2019 U.S. Dist. LEXIS 184877, at *7-8 (M.D. Fla. Oct. 25, 2019)

 (“Generally, the issue of a party's reliance is a question of fact not susceptible to

 determination on a motion to dismiss”).

 is able to establish a negligent misrepresentation cause of action as set forth in the Restatement
 (Second) of Torts section 552….” Gilchrist Timber Co. v. Itt Rayonier, 696 So. 2d 334, 339 (Fla. 1997).
 Belisle can be liable for negligent misrepresentation for false information he directly supplied to
 Eugenia, and indirectly too, by directing others. See comment 2(b) to Rest. Second Torts § 552
 ("information supplied directly and indirectly").

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           Finally: in Florida and the Eleventh Circuit, “a contract provision…cannot

 preclude a fraud claim, unless the contract expressly states that it is incontestable on

 the ground of fraud.” Global Quest, LLC v. Horizon Yachts, Inc., 849 F. 3d 1022, 1028

 (11th Cir. 2017). In Global Quest, a yacht purchaser sued for fraud. He alleged that

 the seller represented pre-sale that the yacht would meet certain standards; but it did

 not. The defendants relied upon "as is" and integration clauses in the contract. Id.

           The District Court granted summary judgment to defendants because the pre-

 contract misrepresentations were “expressly contradicted” by the later agreement.

 The Eleventh Circuit reversed. First, it found that Oceanic Villas v. Godson, 148 Fla.

 454 (Fla. 1941) was binding. It said Oceanic Villas holds that

           where an agreement is procured by fraud or misrepresentation “every part of the
           [] contract” is vitiated because “it is well settled that a party cannot contract
           against liability for his own fraud." 13

 Global Quest, 849 F.3d at 1027. Global Quest held further that “a contract provision,

 including an “as is” clause,

           cannot preclude a fraud claim, unless the contract expressly states that it is
           incontestable on the ground of fraud.

 Id. at 1028. The only exception would be if the parties had contracted and agreed

 upon "a specific disclaimer of liability for fraud.”            Absent that, “no matter the

 context, 'a party cannot contract against liability for [its] own fraud." Id. at 1027

 (quoting Oceanic Villas, Inc., 148 Fla. at 690). The Eleventh Circuit also issued a

 powerful warning against early dismissal:


 13
      Unless otherwise indicated, all emphasis is supplied.

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          "The District Court appears to have confused the threshold question of
          whether a claim is barred as a matter of law with the later question of whether
          the evidence is sufficient to survive summary judgment."

 Id. at 1028. The Court went on:

          "the 'as is' clause and the rest of the Purchase Agreement in this case may
          constitute evidence against plaintiff's fraud allegations, but plaintiff's claims are
          not precluded as a matter of law.”

 Id. at 1028-29. The court warned that, in fraud cases, summary judgment is “rarely

 proper” because

          "[T]he issue so frequently turns on the axis of the circumstances surrounding
          the complete transaction, including circumstantial evidence of intent and
          knowledge.... fraud is ordinarily inappropriate for summary disposition; only
          after a full explanation of the facts and circumstances can the occurrence of
          fraud be determined."

 Id. at 1029 (internal quotation omitted). 14 Finally, as to intent and knowledge, Global

 Quest stated that “intent and knowledge – may be, and often are, proven by

 circumstantial evidence…” Id. at 1030.

          Global Quest was reaffirmed in Viridis Corp v. TCA Global Credit Master Fund, LP,

 721 F. App’x. 865 (11th Cir. 2018). There, the plaintiff sued for fraud under Florida

 law, alleging pre-contractual misrepresentations (e.g., $10 million in financing), even

 though the agreement contained a broad release of claims and a waiver. The District

 Court dismissed, finding that the pre-agreement representations were contradicted by

 the release. The Eleventh Circuit reversed, saying the District Court “overlooked”

 the fact that Florida “prohibits a contractual waiver that exculpates a contracting


 14
   The 11th Circuit noted that the two Florida cases on which the District Court had relied, Faulk v.
 Weller K-F Cars Inc., 70 So. 2d 578 (Fla. 1954) and Lou Bachrodt Chevrolet, Inc. v. Savage, 570 So. 2d
 306 (Fla. Dis. Ct. App. 1990), were decided on a full evidentiary record.

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 party’s fraudulent misconduct.” Id. at 875. Though the release and waiver provisions

 were “broad in the extreme”, they “do not state that they are incontestable on the

 ground of fraud.” Id at 875-876.

          Rana Fin., LLC v. City Nat’l Bank of N.J., 347 F.Supp. 3d 1147 (S.D. Fla. 2018)

 applied Global Quest. Rana Financial (“Rana”) invested $300,000 in (Rana thought)

 defendant CNB, which had allegedly promised that the funds would go into CNB.

 Rana then signed a contract stating that the funds would be invested in a different

 entity. CNB moved to dismiss Rana’s fraud suit, saying the misrepresentations were

 “adequately covered or expressly contradicted in a later written contract.” The

 District Court denied; a party may assert fraudulent inducement

          “based upon oral statements that are contradicted by a later integrated
          agreement, since, if the agreement had in fact been procured through fraud,
          the fraud would invalidate the entire agreement”

          Id. at 1152. (citing Global Quest). 15 Likewise, in Mantilla v. Fabian, 284 So. 3d

 575-76 (Fla. Dist. Ct. App. 2019), plaintiff sold defendant his 50% interest in a

 business, but later sued for fraud in the inducement.                   The lower court granted

 summary judgment to defendant based on a contractual release of claims; Florida’s

 Fourth District Court of Appeals reversed. “Our Supreme Court has spoken clearly

 [in Oceanic] that no contract provision can preclude rescission on the basis of fraud in

 15
   The Court noted Global Quest’s principle that “contradictory” contract provisions are just evidence
 for review on a full evidentiary record. Rana Fin., LLC, 347 F. Supp. 3d at 1152. See also Li v. Walsh,
 2017 U.S. Dist. LEXIS 114552 (S.D. Fla. July 22, 2017) (engagement letter contradicting prior oral
 representations does not bar a fraud claim, citing Global Quest); Silver Creek Farms, LLC v. Fullington,
 2018 U.S. Dist. LEXIS 62993 (S.D. Fla. 2018) (trial necessary to test alleged fraudulent
 representations made in advance of a Bill of Sale containing “as is” clause; citing Global Quest).



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 the inducement unless the contract provision explicitly states that fraud is not a

 ground for rescission.” See also Smith v. Jackson, 2017 U.S. Dist. LEXIS 39514 (S.D.

 Fla. Mar. 19, 2017) (denying motion to dismiss, citing Global Quest; agreement

 procured by fraud vitiates every part of a contract; party cannot contract against

 liability for his own fraud).

          Silent on all this, Belisle cites cases (most pre-Global Quest) with four elements

 1) an earlier oral statement 2) about the terms of a subsequent contract 3) directly

 contradicted by 4) the terms of the subsequent written contract. See Padilla v. Padilla,

 278 So. 3d 333, 334 (Fla. Dist. Ct. App. 2019) (oral statement by daughter that father

 would not be responsible for loan directly contradicted by language of subsequent

 loan contract saying he was responsible for loan); Potje v. Bluegreen Vacation Corp.,

 2018 U.S. Dist. LEXIS 236897, at *9-11 (S.D. Fla. Mar. 6, 2018) (oral statements on

 terms of a timeshare precisely contradicted by subsequent purchase agreement);

 Leader Global Sols. LLC v. Tradeco Infraestructura, 155 F. Supp. 3d 1310, 1319 (S.D.

 Fla. 2016) (alleged oral modification of sales agreement directly contradicted by

 terms of subsequent written invoice that did not reflect alleged oral modification);

 Topps, Inc. v. Uniden Am. Corp., 513 F. Supp. 2d 1345, 1350 (S.D. Fla. 2007)

 (precontractual promise about supply of cell phone stock directly contradicted by

 terms of subsequent contract). Cases following this pattern—precontractual oral

 statement specifically contradicted by later fully integrated writing—are a narrow

 and unusual class of “disclaimer” cases, dependent on elements absent here.



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          First, Belisle and his team’s statements were written.             There are no oral

 promises that would “invite contracting parties to make [written] agreements …and

 then avoid them by… swearing that they relied on some other statement….” Tevini

 v. Roscioli Yacht Sales, Inc., 597 So. 2d 913, 914 (Fla. Dist. Ct. App. 1992).

          Second, the misstatements did not concern a proposed contract.                    Belisle

 misled Eugenia with specific statements about Eugenia’s existing 2017 investments.

          Third, the disclaimers do not directly contradict Belisle’s misstatements about

 Fund performance. Belisle offers this illustration of a direct contradiction: “For

 example, a plaintiff cannot (i) sign a loan agreement that states that he will repay the

 loan, and then (ii) claim that he was misled into signing the agreement by an oral

 statement that someone else would repay the loan.” (Def. Mem. at 9) (citing Padilla).

 But no reasonable investor would have understood disclosures about risk in the

 original investor materials to negate subsequent reports by the investment managers

 about actual investment performance in light of real-world events. Belisle asks this

 Court to decide that an investment manager’s statements to investors about the status

 of their investments should be “unreliable” as a matter of law because the original

 investor materials contained generalized disclosures about the investment’s riskiness.

 But those materials did not (of course) warn investors against relying on subsequent

 statements concerning new developments. 16


 16
   Belisle says that Investment One (the $20 million rollover into 2018) and Investment Two (the $10
 million investment) “were made in connection with the April 2016 subscription agreement” (Def.
 Mem. at 11). He implies that his misleading statements of August to October 2017 were thus pre-
 contract, because the terms in the 2015 Offering Memorandum were “renewed” before Eugenia’s
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          And the Complaint alleges omissions, as well as affirmative misstatements.

 Since Belisle’s statements of August to October, 2017 about the hurricanes were not

 accurate in November and December (disastrous 2017 results were announced on

 January 18, 2018), Belisle had a duty to correct those misstatements—not perpetuate

 them with silence —before Eugenia was committed to its 2018 investments.

                 NEGLIGENT MISREPRESENTATION (COUNT TWO)

          The elements of a negligent misrepresentation claim under Florida law are

 essentially the same as those for fraudulent misrepresentation, except that, instead of

 defendant’s knowledge of the statement’s falsity, a plaintiff need only prove that the

 defendant reasonably should have known of the statement’s falsity; and a plaintiff

 must show that the reliance was “justifiable.” Tannenbaum, 2019 U.S. Dist. LEXIS

 184877 at *7; Butler v. Yusem, 44 So. 3d 102 (Fla. 2010).

          As to Belisle’s state of mind, the allegations meet fraud’s knowing falsity

 requirements, and thus (a fortiori) the lesser requirements of negligent

 misrepresentation. Plaintiff alleges that Belisle was at the very least negligent in his

 statements, in that insider and expert industry information was available that should

 have alerted him that his assessments were wrong.

          As to justifiable reliance, the Supreme Court of Florida has explained that “a

 recipient of an erroneous representation cannot ‘hide behind the unintentional

 2018 investments. First, as to Investment One, the funds were simply rolled over into 2018 because
 Eugenia did not redeem. As to Investment Two: it would defy the plain meaning of words and
 chronology to suggest that disclaimers issued in 2015 somehow protect Belisle against misleading
 statements made in late 2017 about profits and losses in Eugenia’s existing LDAF investments for
 2017, when Eugenia was considering a supplemental investment for 2018.

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 negligence of the misrepresenter when the recipient is likewise negligent in failing to

 discover the error.” Butler, 44 So. 3d at 104. Here, with thirty years’ experience in

 the highly specialized industry, Belisle had a wealth of facts and expertise available

 to him that Eugenia did not. On a motion to dismiss, a court does not decide

 whether a Plaintiff’s reliance was reasonable in light of prior warnings. 17

                                        CONCLUSION

          For the foregoing reasons, defendant Belisle’s motion to dismiss should be

 denied in its entirety. 18


 Dated: February 16, 2021                            FISHER RUSHMER, P.A.

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 17
    See Chiron Recovery, 2017 U.S. Dist. LEXIS 163487, at *10 (citing as examples Brady v. Medtronic,
 Inc., 2015 U.S. Dist. LEXIS 179667, at *6 (S.D. Fla. Mar. 20, 2015); Great Fla. Bank v. Countrywide
 Home Loans, Inc., 2010 U.S. Dist. LEXIS 109628 at *5 (S.D. Fla. Oct. 13, 2010); Point Blank Sols., Inc.
 v. Toyobo America, Inc., 2010 U.S. Dist. LEXIS 117477at *5 (S.D. Fla. Nov. 4, 2010)).
 18
   Should the Court disagree for any reason, Eugenia would respectfully seek the opportunity to file
 an amended complaint.

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                           CERTIFICATE OF SERVICE

       I, John Edwin Fisher, local attorney for Plaintiff, Eugenia II Investment
 Holdings, Limited (BVI), hereby certify that on this 16th day of February, 2021, this
 document filed though the ECF system will be served electronically to the registered
 ECF participants as identified on the Notice of Electronic Filing (NEF).



                                               /s/_John E. Fisher___________
                                               John Edwin Fisher, Esq.




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